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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN

                                                   )
  CRYSTAL MULHERIN,                                )
                                                   )         Case No.
                   Plaintiff,                      )
                                                   )
                   v.                              )
                                                   )
  CITY OF FLINT, JOSEPH KENNEDY, and               )
  UNKNOWN OFFICERS.                                )
                                                   )         JURY TRIAL DEMANDED
                   Defendants.                     )
                                                   )
                                                   )

                                        COMPLAINT

       NOW COMES Plaintiff, CRYSTAL MULHERIN, by her attorneys LOEVY & LOEVY,

and complaining of Defendants the CITY OF FLINT, JOSEPH KENNEDY, and UNKNOWN

OFFICERS, states as follows:

                                      INTRODUCTION

       1.      Plaintiff Crystal Mulherin was thirty years old when she was wrongfully targeted

and convicted for the 2021 shooting of Thadeus Seldon.

       2.      Plaintiff was arrested and tried solely because Defendants conspired among

themselves to coerce inculpatory statements, fabricated evidence connecting Mulherin to the

shooting, and withheld material exculpatory evidence.

       3.      Mulherin had nothing to do with the shooting. Not one piece of physical evidence

connected her to the shooting, and the State has since determined she did not commit the crime.

       4.      Defendants’ misconduct caused Mulherin to be sentenced to a minimum of 15

years in prison.
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       5.      While Mulherin’s case was on appeal, DNA testing of evidence Defendants

collected from the crime scene proved that Mulherin was innocent.

       6.      On January 11, 2024, several years after the shooting, a joint motion filed by the

Conviction Integrity Unit of the Genesee County Prosecutor’s Office and Mulherin’s appellate

lawyers requested that her convictions be vacated.

       7.      Less than two weeks later, the court vacated Mulherin’s convictions, and the

charges were dismissed.

       8.      Mulherin now brings this case seeking justice and redress for the devastating

injuries Defendants caused her.

                                            PARTIES

       9.      Plaintiff Crystal Mulherin is an individual living in Clio, Michigan who spent

time incarcerated for a crime she did not commit.

       10.     Defendant City of Flint is a municipality and was or is the employer of each

individual defendant. The City of Flint is liable for the individual Defendants’ misconduct while

acting within the scope of their employment for the City.

       11.     Defendant Joseph Kennedy and other unknown law enforcement officers were

Flint Police Department (“FPD”) officers acting under color of law at all relevant times. Plaintiff

sues these defendants in their individual capacities only.

       12.     Defendant unknown law enforcement officers of the FPD supervised Defendant

Officers. They facilitated, condoned, and approved the constitutional violations committed by

Defendant Officers.




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        13.      Every individual Defendant, known and unknown, acted under color of law and

within the scope of his or her employment at all times relevant to this lawsuit. Each of the

individual Defendants is sued in his or her individual capacity unless otherwise noted.

                                  JURISDICTION AND VENUE

        14.      This action is brought pursuant to 42 U.S.C. § 1983 and Michigan law to redress

the Defendants’ tortious conduct and their deprivation of Plaintiff’s rights secured by the U.S.

Constitution.

        15.      This Court has subject-matter jurisdiction over Plaintiff’s 42 U.S.C. § 1983 claims

under 28 U.S.C § 1331.

        16.      The court has subject-matter jurisdiction over Plaintiff’s state-law claims under 28

U.S.C. § 1367.

        17.      Venue is appropriate in this district and division because the events giving rise to

all of Plaintiff’s claims occurred in the City of Flint. 28 U.S.C. § 1391(b).

                                          ALLEGATIONS

                                              The Crime
        18.      In the evening of September 13, 2021, someone shot Thadeus Seldon in the

parking lot of a party store in Flint, Michigan.

        19.      A surveillance camera from a nearby home captured the shooting.

        20.      The footage showed a person wearing a black hoodie and a black mask pedal up

on a bicycle, get off, and lean the bicycle against a utility pole.

        21.      The person then took a drag from a cigarette and tossed it into some nearby grass.

        22.      The person then fired several shots at Seldon, striking him in his chest.




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                                         Crystal Mulherin
         23.    In September 2021, Crystal Mulherin had no criminal record and was living in

Flint.

         24.    Mulherin had nothing to do with the Seldon shooting. She is completely innocent

of the crime.

         25.    At the time, Mulherin was in a vulnerable position in her life.

         26.    She ended up incarcerated in the Genesee County Jail on unrelated charges

shortly after Seldon was shot.

                                           Investigation
         27.    FPD responded to the shooting.

         28.    At the scene, Seldon, who was suffering from a gunshot wound, told an FPD

officer that “the dude” who shot him had run away.

         29.    Mulherin is a female, not a “dude.”

         30.    From the scene, FPD recovered five .40 caliber shell casings, as well as a

cigarette butt in the grass that was half-smoked and still burning when the officers arrived. DNA

swabs were taken from the bicycle’s handlebars.

         31.    Joseph Kennedy was assigned as lead investigator on the case.

         32.    Defendant unknown supervising officers, as the supervisors of the investigation

into the Seldon shooting, were responsible for overseeing the investigation.

         33.    Defendant unknown supervising officers were responsible for ensuring that

investigative information was documented and reported and eventually transmitted to state

criminal defense attorneys.

         34.    Moreover, Defendant unknown supervising officers were responsible for ensuring

that the Seldon burglary was conducted pursuant to the policies and customs of FPD.


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       35.        At all times during the investigation, Defendant unknown supervising officers

kept themselves appraised of all evidence collected in the case.

       36.        Detective Kennedy set his sights on Mulherin early on, regardless of actual guilt

or innocence.

       37.        He interrogated Mulherin and audio-recorded the interview. When he conducted

this interview, Kennedy had no intention of accurately identifying the perpetrator.

       38.        Kennedy capitalized on a recent fight between Seldon and Mulherin to coerce

Mulherin to make what Defendants considered to be inculpatory statements in relation to the

Seldon shooting.

       39.        Two days prior to the shooting, Mulherin and Seldon had gotten into a fight in the

parking lot of a gas station across the street from the party store where the shooting occurred.

       40.        A video of their confrontation, which had been posted online, showed Mulherin

take a swing at Seldon. In response, Seldon grabbed Mulherin and threw her across the parking

lot.

       41.        During the interrogation, Kennedy returned to that fight over and over to coerce

Mulherin into making what he considered to be inculpatory statements. In the process Mulherin

stated at least 20 times that she did not shoot Seldon.

       42.        In an effort to implicate Mulherin notwithstanding her innocence, Kennedy

persisted.

       43.        Deep into the interrogation, Mulherin gave some answers Kennedy construed to

be inculpatory.

       44.        Mulherin attempted to clarify her answers, repeatedly asserting her innocence.

But as far as Kennedy was concerned, he had secured Mulherin’s false confession.




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          45.   Kennedy then went to see Seldon, who was still hospitalized. According to

Kennedy, Seldon identified Mulherin. That is so even though he had not seen the perpetrator’s

face or hair because they were wearing a ski mask, he had not exchanged words with the

perpetrator, and immediately after Seldon was shot, he passed out.

          46.   During the investigation a woman named April Thornton, who was incarcerated at

Genesee County Jail with Mulherin, saw an opportunity and asked to speak with Kennedy.

          47.   Thornton told Kennedy that Mulherin, out of the blue, told Thornton that she shot

at Seldon five times, hitting him once in the shoulder—he was struck in the chest.

          48.   At the time, Thornton told Kennedy she could not remember the type of gun

Mulherin had used. But after Thornton spoke with Mulherin again, Mulherin supposedly

revealed to Thornton that she shot him with a Baretta 22 or an AR—Seldon wasn’t shot with

either.

          49.   Thornton also told Kennedy where he could find the gun that was used. That

information was false, and a gun was never recovered.

          50.   In fact, none of Thornton’s supposed leads ever panned out.

          51.   Thornton did not like Mulherin. She believed Mulherin had robbed her father.

Mulherin and Thornton were not cellmates, either. As Thornton told it, Mulherin just came over

to Thornton’s cell two days after the shooting and confessed to the crime without any prompting.

          52.   Many months later, Kennedy received DNA testing from the lit cigarette found at

the scene. It did not match Mulherin.

          53.   He did not order DNA testing from the bicycle handlebars—although he could

have—to compare to the cigarette. And he did not take any further steps to investigate because

he knew further testing would destroy the false case he had built against Mulherin.




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                 Mulherin’s Wrongful Arrest, Conviction, and Imprisonment

       54.     Based on the supposedly inculpatory statements Kennedy coerced from Mulherin,

Seldon’s wrongful identification, and the jailhouse informant’s false information, Mulherin was

charged with assault with intent to murder.

       55.     She was taken into custody on September 17, 2021.

       56.     Kennedy and Defendant unknown supervisory officers knew there was no

probable cause to suspect Mulherin for the shooting. No physical evidence connected Mulherin

to the crime scene. In fact, the DNA from the cigarette butt was not Mulherin’s. And Defendants

deliberately declined to test the physical evidence that would ultimately exonerate Mulherin: The

DNA swabs from the bicycle handlebar. Indeed, the only evidence tying Mulherin to the crime

was procured through manipulation and obviously flawed.

       57.     As a result of Defendants’ misconduct, Mulherin was tried in the Circuit Court of

Genesee County in July 2022 in a jury trial.

       58.     The State’s case hinged upon the “false confession” resulting from Kennedy’s

improper and coercive interrogation of Mulherin, Seldon’s testimony that he could tell the person

in “all black” was Mulherin even without seeing a face, and the testimony of Thornton, a

jailhouse informant who hoped that implicating Mulherin would help her get out of jail. There

was no other evidence, physical or otherwise, linking Mulherin to the crime.

       59.     Kennedy testified that he developed Mulherin as a suspect early on and

interrogated her just days after the shooting, resulting in the allegedly incriminating statements.

       60.     Kennedy never developed any other suspect and admitted that he did not do much

with the physical evidence gathered at the crime scene, claiming the crime lab was backed up.




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        61.    An FPD lab director testified that the cigarette butt was submitted for DNA

testing. The profile came from an unknown male and excluded Mulherin as a contributor. The

DNA swabs taken from handlebars were never processed—a decision left up to the Defendants.

        62.    A jury found Mulherin guilty of assault with intent to murder. The judge

sentenced her to a minimum of 15 years in prison.

                                    Mulherin’s Exoneration
        63.    While Mulherin’s case was on appeal, lawyers at the Michigan State Appellate

Defender Office and prosecutors in the Genesee County Prosecutor’s office, after conducting a

routine conviction integrity review of the case, sought DNA testing of the bicycle handlebars.

        64.    The testing determined that the DNA recovered from the bicycle matched the

DNA from the still-hot cigarette butt found at the scene. In fact, the DNA was a match to a

person known to the prosecutor’s office.

        65.    The prosecutor’s office and Mulherin’s appellate attorneys filed a joint motion for

a new trial on January 11, 2024, agreeing that the newly tested evidence proved that Mulherin

did not shoot Seldon.

        66.    Less than two weeks later, Mulherin’s convictions were vacated, and the charges

were dismissed.

                                      Mulherin’s Injuries
        67.    Mulherin’s arrest without cause for attempted murder flipped her life upside

down.

        68.    All told, Mulherin spent approximately three years in prison—longer than she

would have absent her wrongful conviction for the Seldon shooting.




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       69.     During her wrongful imprisonment, Mulherin was unfairly deprived of the ability

to interact with her family and friends; be present for birthdays, holidays, and other life events;

pursue her passions and interests; and live as an autonomous person.

       70.     Instead, Mulherin was branded an attempted murderer and imprisoned in harsh,

dangerous, and isolating conditions in Michigan prison. Each day she was locked in prison, she

faced physical violence, and emotional abuse.

       71.     In addition, Mulherin must now struggle to build an existence outside of prison

and attempt to rebuild the relationships that atrophied during years of neglect.

       72.     This time was emotionally, physically and psychologically dehumanizing and

debilitating, and Plaintiff has suffered from fear, anxiety, depression, despair, boredom, and

loneliness.

                                            COUNT I
                               42 U.S.C. § 1983 – False Confession
                                    Against Joseph Kennedy

       73.     Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       74.     In the manner described above, Defendant Kennedy, acting under color of law and

within the scope of his employment, conducted an unconstitutional interrogation of Plaintiff, and

coerced her into making involuntary statements against her will, which incriminated her and

which were used against her to her detriment in her criminal proceedings, in violation of

Plaintiff’s rights secured by the Fifth and Fourteenth Amendments.

       75.     In addition or alternatively, as described above, Defendant Kennedy, acting under

color of law and within the scope of his employment, fabricated a false confession, which was

attributed to Plaintiff and used against her in her criminal proceedings, in violation of Plaintiff’s

right to a fair trial protected by the Fourteenth Amendment.




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         76.   Defendant Kennedy’s misconduct described in this count was objectively

unreasonable and was undertaken intentionally and with willful indifference to Plaintiff’s

constitutional rights and her innocence.

         77.   As a result of Kennedy’s misconduct described in this count, Plaintiff lost her

liberty and sustained and continues to sustain injuries, including physical injury, emotional pain

and suffering, great mental anguish, humiliation, degradation, and other grievous and continuing

injuries and damages as set forth above.

         78.   Defendant Kennedy’s misconduct described in this count was undertaken

pursuant to the policies and practices of the City of Waukegan, which are more fully described

below.

                                         COUNT II
                         42 U.S.C. § 1983 – Violation of Due Process
                    Against Joseph Kennedy and Unknown Police Officers

         79.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.

         80.   As described above, Defendant Kennedy, while acting individually, jointly, and in

conspiracy with unknown police officer Defendants, and under color of law and within the scope

of his employment, deprived Plaintiff of her constitutional right to due process and her right to a

fair trial.

         81.   As described more fully above, Defendant Kennedy and unknown police officers

concealed exculpatory information, fabricated evidence, and destroyed additional evidence,

including but not limited to the circumstances surrounding Seldon and the jailhouse informant’s

identifications, thereby misleading and misdirecting the criminal prosecution of Plaintiff.

         82.   In addition, based on information and belief, the Police Officer Defendants

concealed, fabricated, and destroyed additional evidence that is not yet known to Plaintiff.




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       83.       The Defendants obtained Plaintiff’s conviction based only on this false evidence,

and they failed to correct fabricated evidence that they knew to be false when it was used against

Plaintiff during her criminal case.

       84.       Defendants’ misconduct directly resulted in Plaintiff’s unjust and wrongful

criminal prosecution, her conviction, and the deprivation of her liberty, thereby violating her

right to due process and a fair trial guaranteed by the Fourteenth Amendment of the United States

Constitution. Absent this misconduct, Plaintiff’s prosecution would not and could not have been

pursued, and Plaintiff would not have been convicted.

       85.       Defendants’ misconduct described in this count was objectively unreasonable and

was undertaken intentionally and with willful indifference to Plaintiff’s constitutional rights and

her innocence.

       86.       As a result of Defendants’ misconduct described in this count, Plaintiff lost her

liberty and sustained and continues to sustain injuries, including physical injury, emotional pain

and suffering, great mental anguish, humiliation, degradation, and other grievous and continuing

injuries and damages as set forth above.

       87.       Defendants’ misconduct described in this count was undertaken pursuant to the

policies and practices of the City of Waukegan, which are more fully described below.

                                         COUNT III
                           42 U.S.C. § 1983 – Malicious Prosecution
                     Against Joseph Kennedy and Unknown Police Officers

       88.       Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       89.       In the manner described above, Defendant Kennedy, individually, jointly, and in

conspiracy with unknown police officer Defendants, as well as under color of law and within the

scope of his employment, accused Plaintiff of criminal activity and exerted influence to initiate,

continue, and perpetuate judicial proceedings against Plaintiff without any probable cause for


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doing so and in spite of the fact that he knew Plaintiff was innocent, in violation of her rights

secured by the Fourth and Fourteenth Amendments.

        90.      In so doing, Defendants maliciously prosecuted Plaintiff and caused Plaintiff to be

deprived of her liberty without probable cause and to be subjected improperly to judicial

proceedings for which there was no probable cause. These judicial proceedings were instituted

and continued maliciously, resulting in injury.

        91.      Defendants’ misconduct described in this count was objectively unreasonable and

was undertaken intentionally and with willful indifference to Plaintiff’s constitutional rights and

her innocence.

        92.      As a result of Defendants’ misconduct described in this count, Plaintiff lost her

liberty and sustained and continues to sustain injuries, including physical injury, emotional pain

and suffering, great mental anguish, humiliation, degradation, and other grievous and continuing

injuries and damages as set forth above.

        93.      Defendants’ misconduct described in this count was undertaken pursuant to the

policies and practices of the City of Waukegan, which are more fully described below.

                                          COUNT IV
                            42 U.S.C. § 1983 – Failure to Intervene
                     Against Joseph Kennedy and Unknown Police Officers

        94.      Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        95.      In the manner described above, during the constitutional violations described

herein, one or more unknown police officer Defendant stood by without intervening to prevent

the violation of Plaintiff’s constitutional rights.

        96.      These Defendants had ample, reasonable opportunities as well as the duty to

prevent this harm but failed to do so.




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        97.      Defendants’ misconduct described in this count was objectively unreasonable and

was undertaken intentionally and with willful indifference to Plaintiff’s constitutional rights and

her innocence.

        98.      As a result of Defendants’ misconduct described in this count, Plaintiff lost her

liberty and sustained and continues to sustain injuries, including physical injury, emotional pain

and suffering, great mental anguish, humiliation, degradation, and other grievous and continuing

injuries and damages as set forth above.

                                          COUNT V
                 42 U.S.C. § 1983 – Conspiracy to Violate Constitutional Rights
                     Against Joseph Kennedy and Unknown Police Officers

        99.      Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        100.     In the manner described more fully above, the police officer Defendants, acting in

concert with other co-conspirators, known and unknown, reached an agreement among

themselves to fabricate evidence and to detain, prosecute, and convict Plaintiff for the Seldon

shooting, regardless of Plaintiff’s guilt or innocence, and thereby to deprive her of her

constitutional rights.

        101.     In so doing, these co-conspirators agreed to accomplish an unlawful purpose by

an unlawful means. In addition, these co-conspirators agreed among themselves to protect one

another from liability for depriving Plaintiff of these rights.

        102.     In furtherance of their conspiracy, each of these co-conspirators committed overt

acts and were otherwise willful participants in joint activity.

        103.     Defendants’ misconduct described in this count was objectively unreasonable and

was undertaken intentionally and with willful indifference to Plaintiff’s constitutional rights and

her innocence.




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       104.    As a result of Defendants’ misconduct described in this count, Plaintiff lost her

liberty and sustained and continues to sustain injuries, including physical injury, emotional pain

and suffering, great mental anguish, humiliation, degradation, and other grievous and continuing

injuries and damages as set forth above.

                                           COUNT VI
                           42 U.S.C. § 1983 – Policy & Custom Claims
                                    Against the City of Flint

       105.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       106.    The City of Flint employed Defendant Kennedy and other unknown FPD police

officers, supervised them, and promulgated polices, including written polices and unwritten

customs, that caused the wrongful conviction of Plaintiff.

       107.    The constitutional violations—as set forth in Counts I and II and incorporated by

reference here—that caused Plaintiff’s wrongful arrest, prosecution, and conviction were the

result of the City of Flint’s policies, practices, and customs, as well as by the actions of policy-

making officials for the City of Flint.

       108.    At all times relevant to the events described in this complaint and for a period of

time before and after, the City of Flint either had inadequate rules, regulations, policies, and

procedural safeguards, or failed to promulgate adequate rules, regulations, policies, and

procedural safeguards governing: (1) The conduct of interrogations and questioning of criminal

suspects and witnesses; (2) the collection, documentation, preservation, testing, and disclosure of

evidence, including physical evidence, material exculpatory evidence, and impeachment

evidence; (3) obtaining statements and testimony from suspects and witnesses, including

jailhouse informants; (4) writing police reports and taking investigative notes (5) maintaining




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investigative files and disclosing those files in criminal proceedings; and (6) intervention to

prevent and redress misconduct by other officers.

       109.    In addition or alternatively, the City of Flint failed to train and supervise police

officers and agents of the Flint Police Department with respect to: (1) The conduct of

interrogations and questioning of criminal suspects and witnesses; (2) the collection,

documentation, preservation, testing, and disclosure of evidence, including physical evidence,

material exculpatory evidence, and impeachment evidence; (3) obtaining statements and

testimony from suspects and witnesses, including jailhouse informants; (4) writing police reports

and taking investigative notes (5) maintaining investigative files and disclosing those files in

criminal proceedings; and (6) intervention to prevent and redress misconduct by other officers.

       110.    Officers and agents of the City of Flint committed these failures to promulgate

proper or adequate rules, regulations, policies, and procedures notwithstanding the obvious need

for such rules, regulations, policies, and procedures.

       111.    Had officers and agents of the City of Flint promulgated appropriate policies

and/or implemented adequate training and supervision, then the violation of Plaintiff’s

constitutional rights would have been prevented.

       112.    The constitutional harms caused by the inadequate policies, practices, and

customs of the City of Flint are not limited to Plaintiff’s wrongful conviction. In 2009, for

example, Dartanion Edwards was wrongfully convicted of a murder stemming from a shooting in

which a single witness identified Edwards as a shooter. Years later, the defendants discovered a

withheld transcript of the police interview with the witness revealing flaws and inconsistencies in

the witness’s account. And in 2010, Kino Christian, Joshun Edwards, and C’Quan Hinton were

wrongfully convicted of murder based on a problematic witness’s identification of them through




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photographic lineups. A jailhouse informant also testified that Christian confessed to the murder

while they were locked up together. In exchange for his testimony, the informant was promised

that his probation would be transferred to another state.

       113.    This misconduct—relating to problematic witness identifications and jailhouse

informant testimony—is similar in kind to that alleged against the Defendant police officers here,

during their investigation into the Seldon shooting and the arrest and prosecution of Plaintiff.

       114.     In short, given the foregoing, at all times relevant to the events described in this

complaint and for a period of time before, the City of Flint had notice of a practice and custom

by officers and agents of the FPD that included one or more of the following: (1) officers

manipulated statements and testimony of witnesses and criminal defendants to implicate criminal

defendants in criminal conduct; (2) officers failed to properly document and disclose their

interactions with witnesses and jailhouse informants; (3) officers did not record investigative

information in police reports, did not maintain proper investigative files, and/or did not disclose

investigative materials to criminal defendants; (4) officers failed to maintain and/or preserve

evidence and/or destroyed evidence; and/or (5) officers pursued and secured wrongful

convictions through profoundly flawed investigations.

       115.    These practices and customs, individually and/or together, were allowed to

flourish because the leaders, supervisors, and policymakers of the City of Flint directly

encouraged them and were thereby the moving force behind the very type of misconduct at issue

by failing to adequately train, supervise, and control their officers, agents, and employees; by

failing to adequately punish and discipline prior instances of similar misconduct; and by

maintaining a code of silence pursuant to which officers were encouraged not to rat one another

out, thus directly encouraging future abuses like those affecting Plaintiff.




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        116.    The above practices and customs, so well settled as to constitute de facto policies

of the City of Flint, were able to exist and thrive, individually and/or together, because

policymakers with authority over the same exhibited deliberate indifference to the problem,

thereby effectively ratifying it.

        117.    Defendant City of Flint was aware of the need for adequate polices, training, and

supervision, was deliberately indifference to the need, and made a deliberate choice not to adopt

adequate policies, training, or supervision; this choice was an official policy.

        118.    As a result of Defendant Kennedy and unknown police officers’ misconduct while

they were acting pursuant to one or more of the policies, practices, and customs set forth above,

Plaintiff lost her liberty and sustained and continues to sustain injuries, including physical injury,

emotional pain and suffering, great mental anguish, humiliation, degradation, and other grievous

and continuing injuries and damages as set forth above.

                                        COUNT VII
                           State Law Claim – Malicious Prosecution
                     Against Joseph Kennedy and Unknown Police Officers

        119.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        120.    In the manner described above, Joseph Kennedy, individually, jointly, and in

conspiracy with unknown police officer Defendants, as well as within the scope of their

employment, accused Plaintiff of criminal activity and exerted influence to initiate and to

continue and perpetuate judicial proceedings against Plaintiff without any probable cause for

doing so.

        121.    In so doing, the Defendants caused Plaintiff to be subjected improperly to judicial

proceedings for which there was no probable cause. These judicial proceedings were instituted

and continued maliciously, resulting in injury.




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       122.      The judicial proceedings were terminated in Plaintiff’s favor and in a manner

indicative of her innocence when her conviction was vacated and charges against her were

dropped in January 2024.

       123.      The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, and in total disregard of the truth and Plaintiff’s clear

innocence.

       124.      As a result of Defendants’ misconduct described in this count, Plaintiff lost her

liberty and sustained and continues to sustain injuries, including physical injury, emotional pain

and suffering, great mental anguish, humiliation, degradation, and other grievous and continuing

injuries and damages as set forth above.

                                        COUNT VIII
                 State Law Claim – Intentional Infliction of Emotional Distress
                     Against Joseph Kennedy and Unknown Police Officers

       125.      Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       126.      The actions, omissions, and conduct of the police officer Defendants as set forth

above were extreme and outrageous. These actions were rooted in an abuse of power and

authority and were undertaken with the intent to cause, or were in reckless disregard of the

probability that their conduct would cause, severe emotional distress to Plaintiff, as is more fully

alleged above.

       127.      As a result of Defendants’ misconduct described in this count, Plaintiff lost her

liberty and sustained and continues to sustain injuries, including physical injury, emotional pain

and suffering, great mental anguish, humiliation, degradation, and other grievous and continuing

injuries and damages as set forth above.




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                                        COUNT IX
                             State Law Claim – Civil Conspiracy
                    Against Joseph Kennedy and Unknown Police Officers

       128.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       129.    As described more fully in the preceding paragraphs, the police officer

Defendants, acting in concert with other co-conspirators, known and unknown, reached an

agreement among themselves to frame Plaintiff for a crime she did not commit and conspired by

concerted action to accomplish an unlawful purpose and/or to achieve a lawful purpose by

unlawful means. In addition, these co-conspirators agreed among themselves to protect one

another from liability for depriving Plaintiff of these rights.

       130.    In furtherance of their conspiracy, each of these co-conspirators committed overt

acts and were otherwise willful participants in joint activity.

       131.    The violations of Michigan law described in this complaint, including

Defendants’ malicious prosecution of Plaintiff and their intentional infliction of emotional

distress, were accomplished by Defendants’ conspiracy.

       132.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

       133.    As a result of Defendants’ misconduct described in this count, Plaintiff lost her

liberty and sustained and continues to sustain injuries, including physical injury, emotional pain

and suffering, great mental anguish, humiliation, degradation, and other grievous and continuing

injuries and damages as set forth above.

                                          COUNT X
                             State Law Claim – Respondeat Superior
                                    Against the City of Flint

       134.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.




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       135.    While committing the misconduct alleged in the preceding paragraphs, the

Defendants were employees, members, and agents of the City of Flint, acting at all relevant times

within the scope of their employment.

       136.    Defendant City of Flint is liable as principal for all torts committed by its agents.

                                          COUNT XI
                               State Law Claim – Indemnification
                                     Against the City of Flint

       137.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       138.    At all relevant times, the Defendants were employees, members, and agents of

Defendant City of Flint who acted within the scope of their employment in committing the

actions described in this complaint.

       139.    Defendant City of Flint is responsible to pay Plaintiff under any applicable

contractual or statutory obligation that directs it to pay a tort judgment for compensatory

damages for which its employees are liable arising from acts performed in the scope of their

employment.

       WHEREFORE, Plaintiff CRYSTAL MULHERIN respectfully requests that this Court

enter a judgment in her favor and against Defendants KENNEDY, UNKNOWN OFFICERS, and

CITY OF FLINT, awarding compensatory damages, attorneys’ fees, and costs against each

Defendant, punitive damages against each of the Individual Defendants, and any other relief that

this Court deems just and appropriate.

                                            JURY DEMAND

       Plaintiff, CRYSTAL MULHERIN, hereby demands a trial by jury pursuant to Federal

Ruel of Civil Procedure 38(b) on all issues so triable.




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                                          Respectfully submitted,
                                          CRYSTAL MULHERIN

                                          /s/ Rosalind Dillon
                                          One of Plaintiff’s Attorneys

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